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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                                 Eastern Division

Metropolitan Life Insurance Company
                                           Plaintiff,
v.                                                         Case No.: 1:19−cv−01772
                                                           Honorable Edmond E. Chang
Helana Tsoukalas, et al.
                                           Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, June 26, 2019:


        MINUTE entry before the Honorable Edmond E. Chang: Status and motion
hearing held on Plaintiff's motion to deposit funds and for interpleader discharge [24]. As
discussed during the hearing, the motion [24] is granted. MetLife is permitted to pay into
the Clerk of the Court's interest−bearing registry account the total amount of $858,547.50
plus any applicable interest, consisting of $859,000.00 in life insurance benefits payable
due to the death of Christ Tsoukalas under Group Policy Number 213800−1−G issued by
MetLife to Policyholder City of Chicago, less MetLife's costs in the amount of $452.50,
plus any applicable interest. MetLife is dismissed with prejudice from this action. The
remaining parties agreed to a settlement referral to the magistrate judge. Also, the
guardian for claimant A.T. shall file, by 07/10/2019, a signed and notarized statement
explaining how appointment as representative for A.T. in this case. Status hearing set for
08/07/2019 at 9 a.m.Emailed notice(slb, )




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